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                           Exhibit
                                    3
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   June 14, 2021

   VIA EMAIL: slogsdon@rsecurity.net
   Ms. Shannon Logsdon
   Rapid Security Solutions, LLC.
   1920 Northgate Blvd
   #A-9
   Sarasota, FL 34234

   Re: Affordable Aerial Photography, Inc. v. Rapid Security Solutions, LLC.
       Our File: 00022-0130

   Dear Ms. Logsdon,

   We write pursuant to § 627.4137, Florida Statutes, to demand a response with insurance
   information for each known policy of liability insurance your clients may have that may
   provide coverage for all or a portion of our client’s claims in this matter:

      (a) The name of the insurer.
      (b) The name of each insured.
      (c) The limits of the liability coverage.
      (d) A statement of any policy or coverage defense which such insurer reasonably
          believes is available to such insurer at the time of filing such statement, and
      (e) A copy of the policy.

   Thank you in advance for your anticipated cooperation.

   Sincerely,

   SRIPLAW




   Joel B. Rothman

   JBR/tsu
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   June 14, 2021

   VIA EMAIL: slogsdon@rsecurity.net
   Ms. Shannon Logsdon
   Rapid Security Solutions, LLC.
   1920 Northgate Blvd
   #A-9
   Sarasota, FL 34234

   Re: Affordable Aerial Photography, Inc. v. Rapid Security Solutions, LLC.
       Our File: 00022-0130

   Dear Ms. Logsdon,

   We are a law firm making a claim on behalf of our client. We know that this is
   reaching you during a difficult and trying time and that you may have more pressing
   concerns. We appreciate that responding to this letter may not be your first
   priority. However, we must receive a response from you so that we know that you are
   taking this matter seriously, even if you need more time to hire a lawyer or report this
   claim to your insurance carrier. If we hear from you then we can work with you to
   understand your position and resolve our client’s claim. Please respond to us.

   We write on behalf of our client Affordable Aerial Photography, Inc., a photograph
   licensing agent, for purposes of resolving a case of copyright infringement against you
   by our client. This demand is privileged from disclosure pursuant to FRE Rule 408.

   Please provide this letter to your general liability insurance carriers or other providers of
   insurance that may cover this claim and refer them to the enclosed demand pursuant to
   § 627.4137, Florida Statutes, for insurance information in this matter.

   Affordable Aerial Photography, Inc. (“AAP”)
   Robert Stevens, owner of Affordable Aerial Photography, Inc., is a high-end real estate
   photographer who makes his living photographing million dollar homes for real estate
   agents. Stevens is an employee of his company, AAP, which provides photo shoots to a
   client’s specifications. Stevens is self-taught, but his photographs rival those taken by
   photographers who charge thousands more. AAP licenses its photos to agents pursuant
   to a written license. The license is granted only to the agent for whom the photos were
   taken.
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   Rapid Security Solutions, LLC.
   June 14, 2021
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   AAP retains all copyrights to its photographs. AAP licenses its copyrighted Works, such
   as the one in this case, for commercial use.

   AAP created the images, hereinafter referred to as the “Works.”

   The Works at issue are shown below. At the time the Works were created, AAP applied
   Copyright Management Information to the images.
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   Rapid Security Solutions, LLC.
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   AAP registered the Works with the Register of Copyrights on January 27, 2014 and was
   assigned the registration number VA 1-896-890, a copy of which is enclosed.

   Infringement by Rapid Security Solutions, LLC. (“RSS”)
   We have enclosed contemporaneous evidence of the infringement by RSS. In addition
   to the infringement, AAP’s photograph was very obviously cropped as shown on the
   attached. You have employed our client's Work in at least the manner indicated in the
   evidence attached. You are fully aware that the Work you used is our client's Work. No
   one from your company ever sought a license from our client to use the Work for any
   purpose.

   You have copied, displayed and distributed our client's Work without permission,
   license or consent. The use of a creator's photographic image without written consent or
   license violates the United States Code, Title 17, and The Copyright Act. The Copyright
   Act provides for entry of an injunction directing removal of the offending materials
   pending litigation. This letter shall serve as formal notice that you immediately cease
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   Rapid Security Solutions, LLC.
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   and desist all unauthorized uses of our client's Work. Any such further uses shall be at
   your peril.

   If you possess a contract, license, agreement or writing on which you will rely for
   authorization of your use of our client's Work, please provide us with this evidence so
   we may avoid further controversy or litigation. Otherwise, we will be forced to assume
   that your use violated the law.

   Damages
   Copyright law provides several different elements of compensation to AAP when a
   work is infringed or altered. Section 504 permits AAP to recover actual damages plus
   “any additional profits of the infringer that are attributable to the infringement and are
   not taken into account in computing the actual damages,” or statutory damages of up to
   $150,000 per work infringed if the registration predated the infringement. AAP can
   present both damages theories to the jury and select the higher award any time prior to
   entry of judgment.

   Academic studies have demonstrated that the use of good quality photographs more
   effectively market and advertise products and drive sales. AAP’s photographs are of the
   highest quality. AAP’s photographs are also scarce since it is one of the only sources of
   such quality photographs.

   AAP’s damages are not limited to what it would have agreed to license the Work for
   prior to the infringement. Rather, AAP’s actual damages will be measured by the fair
   market value of the photograph considering RSS’s use to sell and promote its business.
   AAP’s actual damages must be measured in light of RSS’s use of AAP’s high quality and
   unique Work.

   This is consistent with federal courts’ approach to broadly construing the term “actual
   damages” to favor victims of infringement. See, e.g., Davis v. Gap, Inc., 246 F.3d 152, 164
   (2d Cir. 2001). The fair market value approach for calculating damages is an accepted
   approach to valuing the defendants’ uses of photographs. See Leonard v. Stemtech Int'l,
   Inc., Nos. 15-3198, 15-3247, 2016 U.S. App. LEXIS 15565 (3d Cir. Aug. 24, 2016). In
   addition, AAP can offer evidence of the actual cost to take the photograph infringed on a
   time and materials basis.

   Section 504 of the Copyright Act permits AAP to recover actual damages plus “any
   additional profits of the infringer that are attributable to the infringement and are not
   taken into account in computing the actual damages.” Therefore, AAP will also be
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   Rapid Security Solutions, LLC.
   June 14, 2021
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   entitled to RSS’s profits from the infringement, based upon the revenue RSS earned in
   connection with the use of AAP’s Work.

   Alternatively, AAP could seek statutory damages for infringement in an amount of up
   to $30,000 per work infringed if the registration predated the infringement. There is also
   the possibility that a judge or jury could determine that RSS’s infringement was willful.
   If RSS’s infringement was shown to be willful, the statutory damage award would
   increase to an amount up to $150,000 per work infringed.

   There is also the issue of the removal of AAP’s copyright management information. 17
   USC 1203(c)(3)(B) permits AAP to recover statutory damages of not less than $2,500 or
   more than $25,000 per violation of the prohibition against alteration or removal of
   copyright management information contained in Section 1202. Based upon RSS’s
   removal of AAP’s CMI, AAP will seek the maximum statutory damages of $25,000 per
   photograph against RSS for this violation.

   Demand
   In order to determine how to proceed, please provide us with information and
   documents showing:

    1.    the full nature and extent of the use of our client's Work, in any and all formats;

    2.    representative copies in any and all tangible form and media in which our
          client's Work was incorporated or employed; and

    3.    the source of the Work.

   Upon receipt of this information we will consider and determine an appropriate amount
   required to be paid to our client in compensation.

   Please carefully consider this letter and the associated exhibits and provide them to your
   attorneys and insurance carriers. If we do not receive a response from you or a
   representative by June 28, 2021, we will take further steps to protect our client’s rights.
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   Ms. Shannon Logsdon
   Rapid Security Solutions, LLC.
   June 14, 2021
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   We look forward to your prompt response.

   Sincerely,

   SRIPLAW




   Joel B. Rothman

   JBR/tsu
   Enclosures
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   July 12, 2021

   VIA EMAIL: slogsdon@rsecurity.net ; customercare@rsecurity.net ; info@rsecurity.net
   Ms. Shannon Logsdon
   Rapid Security Solutions, LLC.
   1920 Northgate Blvd
   #A-9
   Sarasota, FL 34234

   Re: Affordable Aerial Photography, Inc. v. Rapid Security Solutions, LLC.
       Our File: 00022-0130

   Dear Ms. Logsdon,

   We are a law firm making a claim on behalf of our client. We know that this is
   reaching you during a difficult and trying time and that you may have more pressing
   concerns. We appreciate that responding to this letter may not be your first
   priority. However, we must receive a response from you so that we know that you are
   taking this matter seriously, even if you need more time to hire a lawyer or report this
   claim to your insurance carrier. If we hear from you then we can work with you to
   understand your position and resolve our client’s claim. Please respond to us.

   We write this follow up letter on behalf of our client Affordable Aerial Photography, Inc.
   for the purposes of resolving a case of copyright infringement against you by our client.
   This demand is privileged from disclosure pursuant to FRE Rule 408.

   Enclosed please find our prior letter dated June 14, 2021, wherein we detailed the basis
   of the copyright infringement claim against you, including the evidence of infringement.

   We note that a review of the accused infringing webpage shows that the infringement
   has not been removed. It is imperative that you respond to us. If we do not hear from
   you, we will be forced to take further steps to protect our client’s rights, including filing
   a lawsuit against you. We also repeat our demand that you tender this claim to your
   insurance carrier.
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   Rapid Security Solutions, LLC.
   July 12, 2021
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   We look forward to your prompt response.

   Sincerely,

   SRIPLAW




   Joel B. Rothman

   JBR/tsu
